
NORTHCUTT, Judge.
Edward Closuit, Myriam Murphy, and Andalite Industries, Inc., appeal an order finding them in contempt for violating an injunction and assessing attorney’s fees and costs as a sanction. As we did in the related case of Osmo Tec SACV Co. v. Crane Environmental, Inc., No. 2D03-498, 2004 WL 1969574, 884 So.2d 324 (Fla. 2d DCA Sept. 8, 2004), we reverse because the injunction did not prohibit the sale of Andalite’s assets to a third party.
Reversed and remanded.
KELLY, J„ and THREADGILL, EDWARD F., Senior Judge, Concur.
